                        UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF NORTH CAROLINA
                                STATESVILLE DIVISION
                             CRIMINAL DOCKET NO. 5:09CR9

UNITED STATES OF AMERICA            )
                                    )
            v.                      )                      ORDER
                                    )
GARY KYYON GRAY,                    )
            Defendant.              )
____________________________________)

        THIS MATTER is before the Court upon review of several pro se filings submitted by
Defendant Gray. (Documents ##63,66-67) In his filings, Gray seeks immediate release from federal
custody and dismissal of the Bill of Indictment based in part on alleged violations of the Speedy
Trail[sic] Act, 18 U.S.C. §§3161, et seq., and 3164. Defendant also requests imposition of sanctions
against attorneys for both the government and defense.1 Because Defendant is represented by
counsel, his motions are not well-taken and are, therefore, subject to summary dismissal. See
L.Cr.R. 47.1(H).2
        IT IS THEREFORE ORDERED that Defendant’s Pro Se Motions (Documents ##63, 66-
67) are DISMISSED without prejudice.

                                                      Signed: August 27, 2009




        1
          Defendant makes a single reference to 42 U.S.C. §1983 within Document #67. Beyond Gray’s
repetitive and conclusory assertions that his criminal prosecution and pretrial detention amount to a
violation of the U.S. Constitution, Defendant fails to allege any facts in support of a civil cause of action
pursuant to §1983.
        2
       Local Criminal Rule 47.1(H), which governs Pro Se Motions Filed By Criminal Defendants
Who Have Not Waived Their Right To Counsel, reads in part:

        “Except for challenges to the effective assistance of counsel, the Court will not
        ordinarily entertain a motion filed by a criminal defendant who is still represented by
        counsel and has not formally waived his ... right to counsel in the presence of a judicial
        officer after being fully advised of the consequences of waiver....”
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